                Case 3:18-cr-00413-ADC Document 620 Filed 10/25/18 Page 1 of 6
                                   UNITED STATES DISTRICT COURT                         Scheduled: 3:00 PM
                                                                                        Started: 3:15 PM
                                  FOR THE DISTRICT OF PUERTO RICO                       Ended: 3:50 PM
MINUTES OF PROCEEDINGS

HONORABLE AIDA M. DELGADO-COLON, U.S. DISTRICT JUDGE

COURTROOM DEPUTY: Sarah V. Ramón                            DATE: October 25, 2018

COURT REPORTER: Amy Walker                                  CASE: CR. 18-0413 (ADC)

                                                            ATTORNEYS:


UNITED STATES OF AMERICA                            AUSA Kelly Zenon-Matos
                                                    AUSA Vanessa Bonhomme

             VS.

1 Tomas Junior Sanchez-Gonzalez                     Ricardo Izurieta-Ortega

2 Johanny M. Feliciano-Gonzalez                     Francisco M. Dolz-Sanchez
                                                    Ruben Cerezo-Hernandez
3 Tomas Niochard Sanchez-Feliciano

4 Felix A. Perrocier-Garcia                         Edwin Prado-Galarza

5 Daniel Salaman-Rodriguez

6 Rosali Maldonado-Barreto                          Olga Shepard

7 Walkiria Grullon-Rodriguez                        Thomas R. Lincoln-San-Juan

8 Dianna Gonzalez-Agosto                            Claudia Mariela Izurieta-Berrios

9 Hector William Rabsatt

10 Edgardo R. Garcia-Santos                         Ignacio Fernandez-De-Lahongrais, substituted
                                                    by Leonardo Aldridge

11 Angel L. Umpierre-Ramos                          Anita Hill

12 Anibal Rosado-Sanchez

13 Bryan S. Hernandez-Valcarcel                     Mariangela Tirado

14 Maria C. Carmona-Lozada                          Ramon L. Garay-Medina

15 Gabriel Figueroa-Pagan                           Ramon M Gonzalez-Santiago

16 Juan G. Rodriguez-Tosado                         Francisco Adams

17 Steven A. Pagan-Rondon                           Carlos M. Sanchez-La-Costa, substituted by
                                                    Johnny Rivera

18 Orlando M. Torres-Bermudez                       Juan E. Alvarez-Cobian, substituted by
                                                    Johnny Rivera
                Case 3:18-cr-00413-ADC Document 620 Filed 10/25/18 Page 2 of 6


19. Johnashley Rodriguez-Tosado                    Leonardo M. Aldridge

20 Jose R. Matos-Ortiz                             Lydia Lizarribar-Masini, substituted by
                                                   Leonardo Aldridge

21 Omar Quinones-Rivera                            Juan A. Albino-Gonzalez, substituted by
                                                   Edwin León

22 Luis A. Oquendo-Maldonado                       Luis A. Guzman-Dupont

23 John M. Rentas-Rivera                           Jose Aguayo

24 Luis Daniel Soto

25 Ruben Rivera-Chevere                            Emiliio F. Morris-Rosa, excused
                                                   Maribel Flores-Fonseca

26 Luis N. Santiago-Medina                        Juan Matos de Juan

27 Olga I. Torres-Laruy                            Jorge Luis Gerena-Mendez, substituted by
                                                   Julie A. Soderlund

28 Eduardo Lacodet-Leon                            Raymond Rivera-Esteves

29 Exel O. Santiago                                Miguel Oppenheimer

30 Edgardo Martinez-Encarnacion                   Johnny Rivera-Gonzalez

31 Christian Febres-Gaetan                        Jorge E. Rivera-Ortiz

32 Suhali Salaman                                  Rafael Anglada-Lopez

33 Jennifer Santiago-Cabrera                       Antonio Bauza-Torres

34 Eliud Acosta-Rivera       `                     Ismael Rodriguez-Izquierdo

35 Mario J. Caban-Leon

36 Noris Gautier-Rios

37 Domingo Castellanos-Pagan                      Jose C. Romo-Matienzo

38 Kevin Roman-Bonilla                            Manuel L. Morales-Schmidt

39 Christian M. Santiago-Chittenden               Irma R. Valldejuli-Perez

40 Junior Tomas Sanchez-Gonzalez                  Edwin E. Leon-Leon

41 Bryan J. Rivera-Conde                          Javier A. Morales-Ramos

42 Emmanuel Perrocier-Vazquez                     Raymond L. Sanchez-Maceira

43 Kenneth L. Carrasquillo-Marrero

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               Case 3:18-cr-00413-ADC Document 620 Filed 10/25/18 Page 3 of 6


44 Edgardo Castellano-Rivera                      Ernesto Hernandez-Milan

45 Jean Paul Castellano-Rivera                   Humberto Guzman-Rodriguez

46 Carlos J. Melendez-Fernandez                  Kendys Pimentel-Soto

47 Carlos Melendez-Marrero                       David Ramos-Pagan

49 Jonathan Gonzalez-Agosto                      Diego H. Alcala-Laboy

50 Julio C. Rosado-Lacen                         David J. Colon-Almenas

51 Hector A. Davila-Encarnacion                  Victor P. Miranda-Corrada

52 Jose L. Sierra-Lopez

53 Jaime J. Baez-Torres                          Melanie Carrillo-Jiménez

54 Otoniel Cabrera-Perez

55 George A. Touma-Abreu

56 Jose L. Melendez-Ramos

57 Carmelo E. Rivera-Rivera

58 Joel Beltran-Rosario

59 Josue O. Encarnacion-Torres                   Julie A. Soderlund

60 Jomar Rashid Torres-Torres                    Tim Bower-Rodriguez

61 Lee R. Fontanez-Monell                        Jose Agustin Arce-Diaz

62 Edgardo R. Lebron-Diaz                        Luz M. Rios-Rosario, substituted by
                                                 Miriam Ramos
63 Jean C. Rivera-Castro

64 Roberto C. Ayala-Cancel

65 Joshua L. Collazo

66 Omar Martinez-Encarnacion                     Ian Carlos Garcia-Ferreras, substituted by
                                                 Melanie Carrillo
67 FNU LNU aka: Bombi, Ollie

68 Carlos J. Caneda-Osorio

69 Jose Z. Ortiz-Pabon                           Yassmin González-Velez

70 Angel D. Pimentel-Serrano                     Lillian N. Miranda-Rodriguez

71 Carlos Valladares-Pagan                       Giovanni Jose Canino-Sanchez, substituted

                                             3
               Case 3:18-cr-00413-ADC Document 620 Filed 10/25/18 Page 4 of 6
                                                 by Melanie Carrillo

72 Francisco Rosado-Besares                      Marta T. Rey-Cacho

73 Antonio Rodriguez-Aguilar                     Jose A. Suárez-Santa

74 Alexander Falcon-Gonzalez                     Saul Roman-Santiago

75 Edwin Rodriguez-Torres                        Juan Masini, substituted by Rosa Bonini

77 Jose A. Arzola-Sanchez

78 Jaime Rivera-Rosario                          Alejandra Ysabel Bird-Lopez

79 Alex T. Gonzalez-Alcocer                      Rosa Ivette Bonini-Laracuente

80 Leroy F. Perez-Rivera

81 Juan N. Pagan-Encarnacion                     Thomas Trebilcock-Horan, substituted by
                                                 José Gaztambide

82 Yadiel A. Rosario-Fontanez                    Hector J. Dauhajre-Rodriguez

83 Rene R. Latony-Rosado                         Jose R. Gaztambide-Aneses

84 Wendy Lee Torres                              Miguel A. Rodriguez-Robles

85 Jose E. Reyes-Allende                         Jose G. Perez-Ortiz

86 Angel Luis Domenech-Maldonado                 Mario A. Carrillo-Cotto

87 Felix L. Figueroa-Resto

88 FNU LNU aka: Chapu

89 Waldemar Vega-Torres                          Julio Cesar Alejandro-Serrano

90 Christian Rodriguez-Santos                    Ovidio E. Zayas-Perez

91 Yadiel A. Malave-Lopez                        Wilfredo Rios-Mendez

92 Sylkia Fernandez-Mitchell                     Marie L. Cortes-Cortes

93 Tomas Gonzalez-Lopez aka: Tomas Tomato        Miriam R. Ramos-Grateroles

94 Fernando Santiago-Chittenden

95 Zeuleimary Ramos-Santiago                     Fernando Omar Zambrana-Aviles

96 Dereshley Fuertes-Feliciano aka: Dere         Francisco M. Dolz-Sanchez
                                                 Ruben Cerezo-Hernandez
97 FNU LNU aka: Yaniel



                                             4
                     Case 3:18-cr-00413-ADC Document 620 Filed 10/25/18 Page 5 of 6

CASE CALLED FOR A SECOND STATUS CONFERENCE:

Motions pending were ruled upon by the Court, separate orders shall be issued accordingly.

Government informed the following:

          Second discovery package was provided.
          Third discovery package (video of local interventions) will be provided by mid November 2018.
          Fourth individualized discovery package (judgments or prior records of defendants) will also be
           provided to the defense is also expected to be provided by mid November 2018.
          Proffer sessions will be scheduled with approximately 30 defense attorneys.
          Parties are close to reaching a plea agreement as to co-defendant Johnashley Rodríguez (19).
          Four discovery packages have been made available at MDC-Guaynabo to afford defendants the
           opportunity to review the same.
          Evidence inspections have been scheduled for December 5, 6 & 12, 2018.

Defense attorneys had no specific requests, except for the following:

          Attorney Johnny Rivera, requested on behalf of his client, Edgardo Martínez (30), a proffer
           session with Government’s counsel.
          Attorney Miriam Ramos, who represents co-defendant Tomás González (93), requested a
           proffer session as well. Her client is inclined to enter a plea of guilty.
          Attorney Mariangela Tirado, who represents co-defendant Bryan S. Hernández (13), clarified
           that her client has not yet been arraigned, hearing set for October 29, 2018 before Magistrate
           Judge McGiverin. Also has had difficulty accessing discovery through the USA/FX Website. 1
          Attorney Edwin Leon, represents co-defendant Junior T. Sánchez-González, proffered that his
           client is also facing charges in CR. 17-0196-01 (PG) and in CR. 17-0402-01 (PG) and also
           represents defendant in said cases. Therefore, he’s concerned if consolidation should be sought
           and will consider matter and inform the Court accordingly.
          Attorney Aguayo informed that his client, John M. Rentas-Rivera (23), is also charged in CR. 17-
           0158-01 (PAD) and is actively engaged in plea negotiations to dispose of both matters.


       After hearing the parties, the Court set the following hearing and deadlines:




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    AUSA Zenón informed that CDs of the first and second discovery packages are available for pickup.
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        Case 3:18-cr-00413-ADC Document 620 Filed 10/25/18 Page 6 of 6

   A Third Status Conference is set for January 9, 2019 at 10:30 a.m. Only attorneys with
    discovery issues or motions filed are to attend.
   Scheduling Order shall be issued setting deadlines for motion filing.
   Third discovery package due by November 9, 2018.
   Fourth discovery package due by November 23, 2018.
   Government to extend plea offers to the first 15 defendants in the case.
   Remaining plea offers due by January 10, 2019.
   Informative Motion including attendance sheets of each evidence inspection, to be filed by
    the Government.



                                                 S/Sarah V. Ramón
                                                 Courtroom Deputy Clerk




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